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IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

LINDA GOUGH, *
*
Plaintift`, *
*

v. * Civil No. PJM 17-2341
*
BANKERS LIFE AND CASUALTY *
COMPANY, *
*
Defendant. *

MEMORANDUM OPINION

 

On August 15, 2017, Linda Gough, pro se, filed a Compla.int against her fenner
employer, Bankers Life and Casualty Company (“Bankers Life”), care of Ornar Torres, a Unit
Sales Manager at Bankers Life. The Complaint alleged that Bankers Life discriminated against
her by paying “unfair wages"’ based on her sex, as well as misclassified her as an independent
contractor when she performed the job responsibilities of an employee, a classification that
would entitle her to additional benefits under federal and state Wage and labor laws. Gough
seeks damages comprising lost Wages, unemployment benefits, and costs of bringing this action.
Bankers Life filed a Motion to Dismiss on October 2, 2017. ECF No. 5. After numerous delays
and additional proceedings Bankers Life’s Motion to Dismiss is more than ripe for ruling.

For the following reasons, Bankers Life’s Motion to Disrniss is GRANTED. Gough,
however, is given 30 days to refile her claim as a violation of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq. If she fails to act within that time, her suit will be dismissed

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I. FACTUAL AND PR()CEDURAL HIS'I`ORY

Gough’s Complaint states that she worked for Bankers Life as an “insurance agent”
approximately from February, 2016, through July, 2016. ECF No. l at 5~6. She describes
spending two days per work week at Bankers Life’s office making phone calls for approximately
eight hours each day to pursue sales leads, while spending the remaining three days per work
week meeting With clients and preparing materials Id. at 6. Gough claims that Bankers Life
employed her in a “1099 position,” and that Bankers Life classified its workers this way in order
to avoid paying unemployment benefits and complying with federal and state minimum wage
laws. Ia’. at 6-7. The Complaint does not address the reason why Gough stopped working for
Bankers Life after July, 2016.

On May 8, 2017, Gough filed a charge with the Equal Employment Opportunity
Comrnission (“EEOC”) alleging that Bankers Life had engaged in discriminatory conduct Id. at
6. Without making a merits determination, the EEOC issued Gough a Notice of Right to Sue
letter, which she received on May 18, 2017. Gough then filed the present Complaint in this
Court on August 15, 2017.

On October 2, 2017, Bankers Life filed a Motion to Dismiss pursuant to Rule lZ(b)(6) of
the Federal Rules of Civil Procedure. lt asserted that Gough had failed to state a claim for relief
based on either sex discrimination for unequal wages or misclassification of employment status.
ECF No. 5. In response, Gough filed a Motion to Appoint Counsel on October 6, 2017. ECF
No. 7.

The Court deferred decision on Gough’s Motion to Appoint Counsel and suspended the
due date for Gough to respond to Bankers Life’s Motion to Dismiss, pending appointment by the
Court of counsel to conduct a limited investigation and prepare an ex parte confidential report to
the Court whether Gough had pled any colorable claims. ECF No. ll. Bankers Life agreed to

the Court proceeding in this way. On November 20, 2017, the Court appointed Cori M. Cohen,
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Esquire, of the firm of Gilbert Employment Law, to conduct ex parte review of Gough’s claims.
ECF No. 14.

Cohen completed her ex parte review of Gough’s claims in late January, 2018. While
she doubted that Gough had pled a colorable claim of sex discrimination Cohen concluded
Gough had stated sufficient facts to plead possible FLSA claims A copy of Cohen’s report was
shared with Gough.

The Court then issued its first Order Appointing a different Pro Bono Counsel for Gough.
ECF No. 16. Initial pro bono counsel, however, withdrew, citing the demands of operating a
small firm practice, after which the Court issued a second Order Appointing Pro Bono Counsel
for Gough on April 20, 2018. ECF No. 19. Gough’s second pro bona counsel filed a Motion to
Withdraw on June 25, 2018, citing irreconcilable differences with Gough. ECF No. 26. The
Court granted this Motion on June 27, 2018, and simultaneously lifted the suspension of Gough’s
obligation to respond to Bankers Life’s Motion to Dismiss. ECF No. 28.

On July 6, 2018, Gough submitted a letter to the Court requesting a competency
evaluation of herself to preempt any possible contention by Bankers Life that she is mentally
incompetent and unable to represent herself. ECF No. 32. In the same letter, Gough also
requested that the Court order that she receive compensation for the expense of representing
herself pro se. Id. The Court denied both of her requests by Order dated July 17. 2018. ECF
No. 33.

Finally, acting pro se, Gough filed her Opposition to Bankers Life’s l\/lotion to Dismiss
on July 31, 2018. ECF No. 35. ln it, she made no reference to a possible FLSA claim. Bankers
Life filed its Reply on August 13, 2018.

Il. LEGAL STANDARD
Federal Rule of Civil Procedure S(a) prescribes “liberal pleading standards,” requiring

only that a plaintiff submit a “short and plain statement of the claim showing that [he] is entitled
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to relief.” Err'ckson v. Pardus, 551 U.S. 89, 93-94 (2007) (citing Fed. R. Civ. P. 8(a)(2)). To
survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a plaintiff must
plead facts sufficient to “state a claim to relief that is plausible on its face.” Bell All. Corp. v.
Twombly, 550 U.S. 554, 570 (2007). But this standard requires “more than a sheer possibility
that a defendant has acted unlawfully.” Ashcrqft v. Iqbal, 556 U.S. 662, 678 (2009). Although a
court will accept factual allegations as true, “[t]hreadbare recitals of the elements of a cause of
action, supported by mere conclusory statements5 do not suffice.” Id. Indeed, the court need not
accept legal conclusions couched as factual allegations or “unwarranted inferences unreasonable
conclusions or argurnents."' E. Shore Markets, lnc. v. J.D. Assocr`ares Ltd. P’ship, 213 F.3d 175_.
180 (4th Cir. 2000). In the end, the complaint must contain factual allegations sufficient to
apprise a defendant of “what the . . . claim is and the grounds upon which it rests.” Twombly, 550
U.S. at 555 (intemal quotations and citations omitted).

Federal courts have an “obligation to liberally construe a pro se [c]omplaint” and may
consider additional facts and information supporting the complaint that is provided in an
opposition to a motion to dismiss See Rush v. Am. Home Mortg., Inc., 2009 U.S. Dist LEXIS
112530, at *11-12 (D.Md. Dec. 3, 2009). However, this requirement “does not transform the
court into an advocate.” Unired States v. Wz`lson, 699 F.3d 789, 797 (4th Cir. 2012) (internal
quotations and citations omitted). The Fourth Circuit has noted that “[w]hile pro se complaints
may ‘represent the work of an untutored hand requiring special judicial solicitude,’ a district
court is not required to recognize ‘obscure or extravagant claims defying the most concerted
efforts to unravel them.”’ Weller v. Dep’t ofSoc. Servs., 901 F.2d 387, 391 (4th Cir. 1990)
(quoting Beaudetr v. Cz`ty ofHampion, 775 F.2d 1274, 1277 (4th Cir. 1985), cert. denied, 475
U.S. 1088 (1986)). Accordingly, although the facts alleged in a pro se plaintiffs complaint must

ordinarily be taken as true, bare conclusory statements “are not entitled to the assumption of

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truth.” Aziz v. Alcolac, Inc., 658 F.3d 388, 391 (4th Cir. 2011) (quoting Iqbal, 556 U.S. at 679))
(internal quotation marks omitted).
III. LEGAL ANALYSIS

Bankers Life argues that Gough has failed to plead sufficient facts to support her claims
of sex discrimination and misclassification. While Bankers Life concedes that complaints filed
by pro se litigants are held to a less stringent standard than those filed by attorneys it alleges that
Gough has failed to satisfy the plausibility standard necessary to support her claims The Court
agrees

A.

Title VII of the Civil Rights Act of 1964 makes it unlawful for an employer ‘“to
discriminate against any individual with respect to his compensation, terms, conditions, or
privileges ofemployment,” based on such individual’s sex. 42 U.S.C. § 2000e-2(a). Similarly,
the Equal Pay Act (“EPA”) prohibits an employer from discriminating “on the basis of sex by
paying wages to employees in such establishment at a rate less than the rate at which he pays
wages to employees of the opposite sex in such establishment for equal work”. 29 U.S.C. § 255.

Under Title Vll, in order to plead a prima facie case of sex discrimination a plaintiff must
demonstrate ( l) that she is female, and (2) the work she performed was similar to work
performed by males, for which the males received higher pay. Brinkley-Obu v. Hughes Training,
36 F.3d 336, 343 (4th Cir. 1994).

Under the EPA, a plaintiff must show that an employer has paid different wages to
employees of the opposite sexes for equal work in jobs that require equal skill, effort and
responsibility and that are performed under similar working conditions Corm'ng Glassworks v.
Brennan, 417 U.S. 188, 195 (1974); Fowler v. Land Managemem. A plaintiff may also plead a
prima facie case by comparing her salary to that of her predecessor or successor. 29 C.F.R. §

1620.13(b)(2), (4) and (5).

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Gough has plainly failed to satisfy the requirements to plead a prima facie case of sex
discrimination under both Title VII and the EPA. Her Complaint offers mere conclusory
statements that she was paid “unfair wages” because of her gender. ECF No. l at 5 . She cites no
factual evidence to support her claim: no breakdown by gender of Bankers Life’s other workers
and their salaries no comparisons of her earnings to those of her male colleagues no additional
allegations or examples of disparate treatment due to her gender. Even drawing all inferences
favorable to Gough, it is impossible to unearth a plausible claim of sex discrimination when
Gough presents no factual evidence of such due to her gender. Accordingly, the Court dismisses
Gough’s se_x discrimination claim against Bankers Life.

B.

While Gough does not cite any statutory or common law basis for bringing a claim
against Bankers Life because it ‘*misclassified [her] job title,” ECF No. l at 5, it appears she may
be claiming that Bankers Life has violated the FLSA by classifying her as an independent
contractor When she performed job hinctions sufficient to classify her as an employee. In that
case, she may be entitled to attendant benefits such as unemployment insurance and minimum
wage guarantees The FLSA defines "employer” as “any person acting directly or indirectly in
the interest of an employer in relation to an employee,” and defines “employ” as “to suffer or
permit work.” 29 U.S.C. § 203(d), (g).

To determine whether a worker is an employee deserving of FLSA protections federal
courts apply an “economic reality test,” Heath v. Perdue Farms, Inc._ 87 F.Supp.Zd 452, 456 (D.
Md. 2000). This test balances several factors: “(l) the degree of control which the putative
employer has over the manner in which the work is performed; (2) the opportunities for profit or
loss dependent upon the managerial skill of the worker; (3) the putative employee’s investment
in equipment or material; (4) the degree of skill required for the Work; (5) the permanence of the

working relationship; and (6) whether the service rendered is an integral part of the putative
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employer’s business.” Id. The “label that the parties give to their relationship” is not the
controlling factor in the test. Id.

The only facts in Gough’s Complaint that allege "misclassification” are that, in the course
of her work. she “reported to [Bankers Life’s] office 2x/wk [sic] and made phone calls 8 hr [sic]
days The other 3 days l met with clients and prepared material.” ECF No. 1 at 6. Further,
Gough presents a few facts that arguably weigh against her misclassification claim, such as the
fact that Bankers Life only provided its workers with “software uploaded to agent personal
computer and phone,” while workers were required to pay for “1eads, paper, car, gas wear and
tear on vehicle, computer, phone” and “commissions insurance.” ECF No. 10-1 at 24. While
these allegations are quite thin, they may be sufficient to support a plausible claim that she
should have been classified as an “employee” under the “econornic reality test.” This may well
be fleshed out by appropriate discovery on Gough`s part, although it will surely be a challenge
for her to be able to achieve this

Given that, the Court will grant Gough 30 days to file an Amended Complaint pleading
(1) Bankers Life misclassified her as an independent contractor during the course of her
employment, and (2) the FLSA does not exempt her from its protections The Court is reluctant
to dismiss the misclassification claim at this juncture because the parties have not fully addressed
these essential elements The Court strongly encourages Gough to retain counsel who may be
willing to represent her on the basis of a contingency fee, but the Court will not appoint another
pro bono counsel. The Court is concerned that both of Gough’s previously appointed pro bona
counsel withdrew from this case, which strongly suggests that Gough should moderate any
behavior that may have encouraged her prior counsel to seek release of their obligations to
represent her. If Gough is unable to obtain and work with her own privately retained counsel

productively to file an Amended Complaint, or, alternatively, if she is unable to file pro se an

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Amended Complaint that satisfies the plausibility standard, the Court will have little choice but
to direct the Clerk of the Court to close this case.
IV. CONCLUSION
F or the foregoing reasons Bankers Life’s Motion to Dismiss for Failure to State a Claim
(ECF No. 5) is GRANTED. Gough shall have 30 days to file an Amended Complaint consistent
with the Cou.rt’s rulings herein.

A separate Order will ISSUE.

/s/
TER J. MESSITTE
UNI ED TATES DISTRICT JUDGE
September 21, 2018

